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13 NUANCE COMMUNICATIONS, INC.

14 [Additional Counsel on Signature Page]
15                                     UNITED STATES DISTRICT COURT

16                                  NORTHERN DISTRICT OF CALIFORNIA

17                                          SAN FRANCISCO DIVISION
18 NUANCE COMMUNICATIONS, INC.,                              Case No.: C 08-02912 JSW MEJ

19                    Plaintiff,                             JOINT STIPULATION AND [PROPOSED]
                                                             ORDER EXTENDING TIME
20           v.
21 ABBYY USA SOFTWARE HOUSE,
   INC., et al.
22
                Defendants.
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     Joint Stipulation and [PROPOSED] Order Extending Time
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 1            Pursuant to the Court's Order of April 12, 2010, the parties in the above-captioned action

 2 have conferred in good faith regarding appointment of a Special Master for the purpose of
 3 preparing a Report and Recommendation regarding the order of the patents, claims and terms to be

 4 adjudicated in this matter.

 5            The parties evaluated eight potential candidates for this task. The parties believed to have
 6 essentially narrowed them down close to a final selection of one joint candidate to submit to the

 7 Court. Due to additional facts that need further investigation and came to light today, more time is

 8 needed to verify those facts. The parties are hopeful to be in position to make a final selection by
 9 Tuesday April 27, 2010.

10            Counsel for the parties therefore hereby stipulate and agree, pursuant to Civil L.R. 6-2 and

11 subject to the Court's approval, that the time for reporting a final selection to the Court, be, and it
12 hereby is, extended from April 23, 2010 to and including APRIL 27, 2010, to permit the parties to

13 finalize their evaluation.

14            This is the first extension requested for this deadline. The extension is not anticipated to
15 materially impact the case schedule. This stipulation is made in good faith and without any intent

16 to cause delay or prejudice, but to allow the parties a reasonable opportunity to continue

17 investigations and permit appointment of a special master in this case. The parties to this
18 proceeding therefore request that the Honorable Court reset the above-mentioned deadline for good

19 cause shown herein.

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     Joint Stipulation and [PROPOSED] Order Extending Time
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1                                                   Respectfully submitted,

2 Dated: April 23, 2010                             WILSON SONSINI GOODRICH & ROSATI
3
                                                    By: /s/ M. Craig Tyler
4                                                    M. Craig Tyler
5
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                                                    Attorneys for Plaintiff
10                                                  NUANCE COMMUNICATIONS, INC.

11
12
     Dated: April 23, 2010                          By: /s/ Matthew M. Wawrzyn
13                                                  Matthew M. Wawrzyn

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17
                                                    Attorneys for Plaintiffs and Counter-Defendants in
18                                                  Case No. C 08-02912
                                                    ABBYY USA SOFTWARE HOUSE
19                                                  LEXMARK INTERNATIONAL, INC.

20
21                                                                       There will not be a further extension of
     PURSUANT TO STIPULATION, IT IS SO ORDERED.
                                                                         this deadline.
22
     Dated: April 26
            __________, 2010
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24                                                               ________________________________
25                                                               UNITED STATES DISTRICT JUDGE
                                                                 JEFFREY S. WHITE
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     Joint Stipulation and [PROPOSED] Order Extending Time
     Case No. C 08-02912 JSW MEJ
